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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

United States of America,

v.                                       Case No. 1:18-cr-00404

Ronald Patrick Maxson (3), Logan         Michael L. Brown
James Lively (4), and Joseph W.          United States District Judge
Plows, Sr. (5),

                        Defendants.

________________________________/

                          OPINION & ORDER

      Defendants Ronald Patrick Maxson, Logan James Lively, and

Joseph W. Plows, Sr. moved to suppress evidence seized by the United

States pursuant to various search warrants. Defendant Plows moved to

suppress evidence from several electronic devises claiming faulty

execution of the warrant (Dkts. 109; 126) while Defendant Lively sought

to suppress evidence obtained during a search of his home, including

evidence from his phone, arguing the warrant lacked probable cause

(Dkt. 95). Defendant Maxson moved to suppress evidence obtained from

the search of his home claiming the warrant was stale (Dkts. 134; 135).

Magistrate    Judge    Catherine    M.    Salinas   filed   a   Report     and
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Recommendation (Dkt. 153) saying the Court should deny all three

motions. Defendants filed objections. (Dkts. 160; 170; 172.) The Court

accepts the Magistrate Judge’s recommendations and affirms the denial

of each Defendant’s motion.

I.    Background

      Defendants Maxson, Lively, and Plows are charged with

advertising child pornography in violation of 18 U.S.C. § 2251(d). (Dkt.

1.) The United States claims these Defendants (and others) belonged to

a group on Kik called “The Common Interest.” (Dkts. 143 at 1-2; 144 at

1-2; 146 at 1-2.)1 According to the United States, “The Common Interest”

was a group chat in which participants posted child pornography and

commented on others’ postings. (Id.) Participants could invite other

people to join the group — including, in this case, an undercover FBI

agent posing as someone interested in child pornography. (Id.) The FBI

obtained the IP addresses of participants who posted child pornography

in the chat. Agents then issued subpoenas to internet service providers

and conducted other investigations to identify the people who made


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  Kik is a mobile app that allows people to exchange messages,
photographs, videos, documents, and links. (Dkts. 143 at 1-2; 144 at 1-2;
146 at 1-2.)

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various postings. (Id.) They obtained and executed search warrants

looking for evidence of the postings. This order involves three of those

warrants. (Id.)

II.    Legal Standard

       After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a

magistrate judge’s report and recommendation. 28 U.S.C. § 636(b)(1);

FED. R. CRIM. P. 59; Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982) (per curiam). A district judge “shall make a de novo determination

of those portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1). The

district judge should “give fresh consideration to those issues to which

specific objection has been made by a party.” Jeffrey S. v. State Bd. of

Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (citation omitted). For

those findings and recommendations to which a party has not asserted

objections, the court must conduct a plain error review of the record.

United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

       Parties    filing   objections   to   a   magistrate’s   report      and

recommendation must specifically identify those findings to which they



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object.   Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988).

“Frivolous, conclusive, or general objections need not be considered by the

district court.”   Id.   The Court has conducted a de novo review of

Defendants’ motions to suppress.

           Defendant Plows’s Motion to Suppress

      Defendant Plows moved to suppress the search of his electronic

devices claiming the agents improperly searched the devices outside the

fourteen-day window set forth in the warrant. The Magistrate Judge

rejected this argument, concluding Federal Rule of Criminal Procedure

41(e)(2)(B) allows for the seizure of devices followed by a later, offsite

search and that (unless specifically stated) the time set forth in a warrant

refers to the time during which agents may execute the warrant on-site

and not the time during which they must complete their off-site review.

(Dkt. 153 at 10.) In his objections, Defendant Plows identifies no legal

authority in opposition to the Magistrate Judge’s ruling but rather

simply repeats his claim that the agents violated the time limit. (Dkt.

170 at 1–2.)

      This Court disagrees. Magistrate Judge Salinas’s ruling tracks the

language of Rule 41(e)(2)(b). The Advisory Committee Notes to the Rule



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also state that the rule was intended to create a two-step process: “officers

may seize or copy the entire storage medium and review it later to

determine what electronically stored information falls within the scope

of the warrant.” FED. R. CRIM. P. 49(e)(2).

     The authorizing judge signed the warrant for Defendant Plows’s

devices on March 9, 2018. (Dkt. 126-1 at 11.) It required the officers to

execute the warrant within fourteen days. (Id.) Officers executed it three

days later. (Id.) The warrant included no language suggesting law

enforcement officers had to complete their analysis of the devices within

the fourteen days. The Court overrules Defendant Plows’s objections,

adopts the Magistrate Judge’s recommendation, and denies Defendant

Plows’s motion to suppress the search and seizure of his electronic

devices.

           Defendant Lively’s Motion to Suppress

     Defendant Lively claims the Magistrate Judge erred in finding the

warrant application for the search of his house established probable

cause for the search. (Dkt. 172 at 2–3.) He claims the warrant’s reliance

on a single distribution of a video nine months earlier was insufficient to

establish probable cause. (Id. at 2, 4, 5–6.) He also claims the warrant



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failed to ascribe a link between the posting and the contraband. (Id. at

3.) He claims the Magistrate Judge erred in relying on the Eleventh

Circuit’s decision in United States v. Carroll, 886 F.3d 1347, 1351 (11th

Cir. 2018). (Id. at 2.) Finally, he claims the information in the warrant

application was stale by the time agents obtained the warrant. The Court

disagrees with each of his arguments.

     The Fourth Amendment mandates that “no Warrants shall issue,

but upon probable cause, supported by Oath or affirmation.” U.S. CONST.

amend. IV. The magistrate reviewing a warrant must make a practical,

common-sense decision whether, given all the circumstances set forth in

the probable cause affidavit, there is a fair probability that law

enforcement will find evidence of a crime in a particular place. See

Illinois v. Gates, 462 U.S. 213, 238 (1983); see also United States v.

Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). The affidavit should

establish a connection between the defendant and the place law

enforcement wants to search and a link between that place and any

criminal activity. See United States v. Martin, 297 F.3d 1308, 1314 (11th

Cir. 2002). “[T]he duty of a reviewing court is simply to ensure that the




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magistrate had a ‘substantial basis’ for concluding that probable cause

existed . . . .” Gates, 462 U.S. at 250.

      Courts must give “great deference” to a magistrate judge’s decision

and uphold a magistrate’s findings even in marginal or doubtful cases.

See United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990).

“Deference to the magistrate, however, is not boundless.” Leon, 468 U.S.

at 914. “[R]eviewing courts will not defer to a warrant based on an

affidavit that does not provide the magistrate with a substantial basis for

determining the existence of probable cause.”        Id. at 915 (internal

quotation marks omitted).

      Here, the Court agrees with the Magistrate Judge’s conclusion that

the affidavit established probable cause to believe law enforcement would

find evidence of the possession of child pornography on computers,

cellular telephones, and other electronic storage devices found in the

house at 309 4th Street in Pinehurst, Idaho. Contrary to Defendant

Lively’s objections, the affidavit linked computer equipment at that

location with the possession of child pornography. After describing The

Common Interest Kik group, the affiant explained that someone in the

group with the username “wolfman1041” posted a 51 second video of child



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pornography (specifically, a prepubescent girl digitally penetrating the

vagina of another prepubescent girl). (Dkt. 95-1 ¶¶ 9, 11.) He explained

that “wolfman1041” also used the screenname “Logal L”, that

“wolfman1041” provided Kik the email address llively86@yahoo.com, and

that “wolfman1041” used an identifiable IP address to access the Kik

group on several occasions. (Id. ¶¶ 13, 14.) The agent/affiant explained

that he subpoenaed the internet service provider, requesting information

about the subscriber who used that IP address on the date and time the

video was posted — that is, information about the subscriber who

distributed the video. (Id. at 14.) The internet service provider identified

the subscriber as Lisa Sergeant with service at the 309 4th Street

address. (Id.)

     The affiant then explained that he linked Defendant Lively to that

address. First, he reviewed law enforcement databases and the Idaho

Department of Motor Vehicles, which listed Defendant Lively’s address

as 309 4th Street in Pinehurst, Idaho. (Id. ¶¶ 15–16.) Agents then went

to that location and saw a car registered to Defendant Lively (and

another person) at it. (Id. ¶ 22.) They also obtained information from




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the United States Post Office showing Defendant Lively received mail at

that address. (Id.)

     The affiant explained that he has considerable experience

investigating the possession of child pornography and that people

interested in such materials, typically maintain their collection for years,

collect it on various electronic media (including cell phones and

computers), and keep it in their homes for easy access. (Id. ¶ 21(d)-(e).)

Finally, he explained that — even without the user’s knowledge —

evidence of the possession or distribution of child pornography may

remain on electronic devices indefinitely. (Id. ¶ 28.)

     All in all, the affiant provided probable cause to believe that images

of child pornography — even if only the one video posted on the Kik group

by “wolfman1014” — and other evidence of the possession of child

pornography would be found at the location to be searched. The Eleventh

Circuit reached a similar conclusion in United States v. Carroll, 886 F.3d

at 1351. Defendant Lively says that case is inapplicable because the

agents in Carroll linked 22 files to the defendant’s residence while the

affidavit in this case linked only one video. (Dkt. 172 at 2.) No authority

suggests that the number of images is the critical, decisive factor. In



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Carroll, the Eleventh Circuit recognized that evidence tracing the

distribution of child pornography via the internet to a residence provided

probable cause for a search of that residence for evidence regarding the

possession of illegal images. So too in this case, the affidavit linked

Defendant Lively and his residence to a previous distribution of child

pornography. The Magistrate Judge properly relied on Carroll.

     Defendant Lively also contends the one posting was insufficient

because it happened nine months prior to the warrant. In support of his

argument, Defendant Lively cites United States v. Zimmerman, 277 F.3d

426, 437 (3d Cir. 2002), in which the court held that information someone

in a house viewed child pornography was insufficient to establish

probable cause for a search of that house six months later. The passage

of time, however, was not the primary issue in Zimmerman.         Instead,

the Court of Appeals recognized that the warrant application “did not

contain any information indicating [the defendant] ever possessed child

pornography.” Id. The warrant showed that he accessed and viewed

pornography, but it contained no evidence he downloaded it or otherwise

possessed illegal images.




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      That is not the case here.          The affidavit established that

“wolfman1041” possessed the video he uploaded to the Kik group and

that he did so from the location to be searched. The mere passage of time

is insufficient to render the probable cause stale, particularly in the light

of the agent’s professional judgment that individuals who possess this

material covet their collection and maintain it for years.2

      The Court also denies Defendant Lively’s claim that the warrant

was too broad and that, if the warrant was invalid, the United States

would not be entitled to the good faith exception to suppression. As to

the former, the affidavit established a link between the possession of

child pornography and various electronic storage devices and internet

service providers, the items Defendant Lively claims made it too broad.

The affidavit established that these items might contain evidence of the

possession of child pornography. As to the latter, the Court disagrees

with Defendant Lively’s claim that the warrant was so obviously lacking

as to prevent application of the good faith exception.




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  The Court discusses this concept in more detail below in regard to
Defendant Plows’s motion to suppress. The same rationale applies to
Defendant Lively’s claim that the mere passage of time rendered the
search warrant allegations stale.

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      The government is not barred from using evidence obtained by

officers acting in reasonable reliance on a search warrant issued by a

neutral magistrate, even if the search warrant is ultimately found

invalid.   See United States v. Leon, 468 U.S. 897, 923 (1984).           The

Supreme Court has explained that, given the goal of deterring

misconduct, a court should not apply the exclusionary rule unless the

application or warrant was so defective or deficient that no reasonably

well-trained officer would have relied on them. Id. Put differently, the

exclusionary rule does not apply when an officer, acting with objective

good faith, obtains a search warrant from a neutral magistrate judge and

acts within the scope of the warrant. Id. at 920–21. This good faith

exception does not apply in four instances, specifically when: (1) the

judicial officer issues the warrant on a deliberately or recklessly false

affidavit; (2) the judicial officer abandons his judicial role; (3) the warrant

so lacks any indicia of probable cause as to render official belief in its

existence entirely unreasonable; or (4) the warrant is so facially deficient

that an officer could not reasonably presume it valid. Id. at 923.

      Having reviewed the warrant, the Court concludes that, if the

warrant were invalid, the government would nonetheless be entitled to



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the benefit of the good faith exception. There is no evidence the affiant

intentionally or recklessly misled the issuing magistrate judge. There

also is no evidence the magistrate judge abandoned his “judicial role” in

issuing the warrant. Similarly, the affidavit is not so lacking in indicia

of reliability or otherwise so facially deficient that no reasonable agent

could have believed it valid.

     The    Court    adopts     the   Magistrate   Jude’s   Report    and

Recommendation and denies Defendant Lively’s motion to suppress.

           Defendant Maxson’s Motion to Suppress

     Law enforcement obtained and executed a search warrant at

Defendant Maxson’s residence based on evidence linking his residence to

the posting of two videos and one photo containing child pornography.

One of the videos showed the rape of a girl between the ages of two and

four. (Dkt. 135-1 ¶ 11.) The other showed the rape of a prepubescent

girl. (Id. ¶ 12.) The photograph showed the exposed vagina of a girl

between two and six years old. (Id. ¶ 10.) Defendant Maxson does not

challenge the adequacy of the evidence to establish probable cause for the

search other than to claim the evidence was stale as law enforcement

officers did not seek the warrant until eight months after the items were



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posted. (Dkt. 160 at 2.) This is the same argument he made before the

Magistrate Judge.

     The staleness doctrine requires that the information supporting the

government's application for a warrant establish probable cause at the

time the warrant issues. United State v. Bervaldi, 226 F.3d 1256, 1264

(11th Cir. 2000). There is not, however, any particular rule or time limit

for when information becomes stale. Instead, “staleness is an issue which

must be decided on the peculiar facts of each case.” Id. (quoting United

States v. Bascaro, 742 F.2d 1335, 1345 (11th Cir. 1984)). The Eleventh

Circuit has explained that courts should consider, not only the length of

time, but also “the nature of the suspected crime (discrete crimes or

ongoing conspiracy), habits of the accused, character of the items sought,

and nature and function of the premises to be searched.” United States

v. Touset, 890 F.3d 1227, 1238 (11th Cir. 2018). In reaching this decision,

the Eleventh Circuit has followed the lead of other circuit courts in

finding that the type of charges at issue here (the possession of child

pornography) elongates the probative value of prior possession, keeping

it fresh and preventing it from going stale as quickly as other evidence

might. Id. This is because “pedophiles rarely, if ever, dispose of child



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pornography” and because evidence of child pornography can remain on

electronic devices long after someone attempts to delete it. Id. (citing

Zimmerman, 277 F.3d at 434; United States v. Burkhart, 602 F.3d 1202,

1206–07 (10th Cir. 2010); United States v. Morales-Aldahondo, 524 F.3d

115, 119 (1st Cir. 2008); United States v. Hay, 231 F.3d 630, 636 (9th Cir.

2000)). Based on this analysis, the Eleventh Circuit held that evidence a

defendant may have purchased child pornography at one time, was not

so stale as to preclude probable cause for a warrant a year and a half

later. Id.

     This case involved an even shorter passage of time. The affidavit

presented probable cause to believe Defendant Maxson possessed child

pornography between June 28 and 29, 2017 — the day he uploaded the

images.      Defendant Maxson does not dispute this. In addition, the

affiant specifically alleged that people who possess child pornography

often maintain their collections for years, that they keep their collections

safe and secure, that modern storage devices allow individuals to easily

store large quantities of illegal files, and that evidence of the possession

of child pornography can be maintained on electronic devices indefinitely

(and even after a suspect tries to delete it). (Dkt. 135-1 ¶¶ 20(d), 24, 27.)



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The Court adopts Magistrate Judge Salinas’s conclusion that, in the light

of these allegations and the nature of the charges, the mere passage of

eight months did not render stale evidence of Defendant Maxson’s

possession of the two videos and one photo so as to preclude a finding of

probable cause on the day the Magistrate Judge issued the warrant.

     And, as in the case of the warrant for the search of Defendant

Lively’s residence, the Court concludes that, even if the warrant for the

search of Defendant Maxson’s residence was invalid, the United States

would nonetheless be entitled to the benefit of the good faith exception.

There is no evidence the affiant intentionally or recklessly misled the

issuing magistrate judge or that the magistrate judge abandoned his

“judicial role” in issuing the warrant. Similarly, the affidavit is not so

lacking in indicia of reliability or otherwise so facially deficient that no

reasonable agent could have believed it valid.       Although the issuing

magistrate judge did not have the benefit of the Eleventh Circuit’s

decision in Touset, the affidavit clearly established the ongoing freshness

of the evidence in this case such that a reasonable agent would have

believed the warrant valid.




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     The    Court   adopts    the   Magistrate    Judge’s   Report    and

Recommendation and denies Defendant Maxson’s motion to suppress.

III. Conclusion

     The Court OVERRULES Defendants Plows’s, Lively’s, and

Maxson’s Objections to the Report and Recommendation (Dkts. 160; 170;

172), ADOPTS the Magistrate Judge’s Report and Recommendation

(Dkt. 153), and DENIES Defendants Plows’s, Lively’s, and Maxson’s

Motions to Suppress (Dkts. 95; 109; 126; 134; 135).

     SO ORDERED this 12th day of February, 2020.




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